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 1                                                               The Honorable Michelle L. Peterson

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     O’DONNELL/SALVATORI, INC., an Illinois               NO. 2:20-cv-00882-MLP
 9   corporation,
                                                          DECLARATION OF MARK
10                                                        LORBIECKI IN SUPPORT OF ODS’S
                      Plaintiff/Counterclaim
                      Defendant,                          RESPONSE TO DEFENDANT
11                                                        MICROSOFT CORPORATION’S
                                                          MOTION FOR SUMMARY
12           v.                                           JUDGMENT
13   MICROSOFT CORPORATION, a Washington
     corporation,                                         NOTED ON MOTION CALENDAR:
14                                                        February 25, 2022
                      Defendant/Counterclaim
15                    Plaintiff.                          ORAL ARGUMENT REQUESTED
16

17           1.       I am an attorney for Plaintiff/Counterclaim Defendant O’Donnell/Salvatori, Inc.

18   (“ODS”) in the above-entitled action. I make this declaration based on personal knowledge, am

19   over the age of 18 and competent to testify.

20           2.       Attached hereto as Exhibit A is a confidential email indicating to Mr. Marty

21   O’Donnell that Microsoft would not elect to complete registration of works by ODS relative to

22   the Halo game series.

23           3.       Attached hereto as Exhibit B is a confidential acknowledgement that Microsoft

24   itself in the person of Frank O’Connor had no real conception of what royalties are owed to ODS.

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      DECLARATION OF MARK LORBIECKI IN SUPPORT OF ODS’S                 Williams, Kastner & Gibbs PLLC
                                                                        601 Union Street, Suite 4100
      RESPONSE TO DEFENDANT MICROSOFT CORPORATION’S                     Seattle, WA 98101-2380
      MOTION FOR SUMMARY JUDGMENT - 1                                   (206) 628-6600
      (2:20-cv-00882-MLP)

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 1           4.       Attached hereto as Exhibit C is an email from Sumthing Else Music, the

 2   distributor hired by Microsoft and charged with accounting for sales and distribution of Halo

 3   music admitting that all records relative to earned royalties for Halo music sales and distributions

 4   are in error.

 5           5.       Exhibit D is a true and accurate excerpted copy of the 30(b)(6) deposition of

 6   Microsoft indicating that Microsoft had used various of the ODS works to form new music which

 7   was not properly attributed to either of Michael Salvatori or Martin O’Donnell.

 8           6.       Attached hereto as Exhibit E is a true and correct copy of excerpts of the

 9   Microsoft’s accounting expert, Christopher Hull’s deposition.

10           7.       Attached hereto as Exhibit F is a true and correct copy of excerpts of the Joel

11   Yarger deposition.

12           8.       Attached hereto as Exhibit G is a true and correct copy of excerpts of the Martin

13   O’Donnell deposition.

14           9.       Attached hereto as Exhibit H is a true and correct copy of excerpts of the Michael

15   Salvatori deposition.

16           10.      Attached hereto as Exhibit I is a true and correct copy of excerpts of the Paul

17   Lipson deposition.

18           11.      Attached hereto as Exhibit J is a true and correct copy of excerpts of the Sotaro

19   Tojima deposition.
20           12.      Attached hereto as Exhibit K is a true and correct copy of excerpts of the Thomas

21   Salta deposition.

22           13.      Attached hereto as Exhibit L is a true and correct copy of excerpts of the Timothy

23   Saltzman deposition.

24

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 1           14.      Attached hereto as Exhibit M is a true and correct copy of Answers and Responses

 2   to Defendant/Counterclaim Plaintiff’s First Set of Interrogatories, Requests for Production and

 3   Requests for Admission.

 4           15.      THE FOREGOING IS TRUE AND CORRECT TO THE BEST OF MY

 5   KNOWLEDGE, SO STATED UNDER PENALTY OF PERJURY UNDER THE LAWS OF

 6   THE STATE OF WASHINGTON AND THE UNITED STATES OF AMERICA.

 7

 8           DATED this 11th day of February, 2022.

 9

10                                                      s/ Mark Lawrence Lorbiecki
                                                        Mark Lawrence Lorbiecki, WSBA # 16796
11                                                      WILLIAMS, KASTNER & GIBBS PLLC
                                                        601 Union Street, Suite 4100
12
                                                        Seattle, WA 98101-2380
13                                                      Tel: (206) 628-6600
                                                        Fax: (206) 628-6611
14                                                      Email: mlorbiecki@williamkastner.com
15                                                      Attorneys for Plaintiff/Counterclaim
                                                        Defendant O’Donnell/Salvatori, Inc.
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